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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 THERESA M. SERRANO                       :       CIVIL ACTION
            Plaintiff,                    :
                                          :
                   v.                     :
                                          :
 OFFICER KYLE GOLDEN, et. al.             :       NO. 5:21cv84
            Defendant.                    :

                                          ORDER

        AND NOW, TO WIT: This 21st day of September 2021, it having been reported that the
issues between the parties in the above action have been settled and upon Order of the Court
pursuant to the provisions of Rule 41.1(b) of the Local Rules of Civil Procedure of this Court
(effective July 1, 1995), it is

        ORDERED that the above action is DISMISSED with prejudice, without costs, pursuant
to the agreement of counsel.


                                              KATE BARKMAN
                                              Clerk of Court


                                    BY:       /s/ Donna Marie Croce
                                              Donna Marie Croce
                                              Deputy Clerk to the
                                              Honorable Timothy R. Rice
                                              U.S. Magistrate Judge
